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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                       CASE NO.: 14-CV-21385-LENARD/GOODMAN

   WREAL, LLC, a Florida Limited
   Liability Company,

          Plaintiff,
   vs.

   AMAZON.COM, INC., a Delaware
   Corporation,

         Defendant.
   _____________________________________/

                   PLAINTIFF WREAL, LLC’S OBJECTIONS TO
         MAGISTRATE JUDGE GOODMAN’S REPORT AND RECOMMENDATION
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          Plaintiff Wreal, LLC, (“Wreal”) objects to Magistrate Judge Goodman’s Report and

   Recommendation (“R&R”) that the Court grant Amazon’s motion for summary judgment. The

   Court should not adopt Judge Goodman’s recommendations because he failed to apply the correct

   standard on summary judgment, improperly relied on facts determined at the preliminary

   injunction phase without considering that a reasonable jury may come to a different conclusion,

   and improperly stepped into the shoes of the jury by crediting evidence Amazon suggests makes

   confusion unlikely and disregarding evidence that points to a finding that confusion is likely.

          Judge Goodman also misapplied the law by failing to apply well-reasoned standards in

   reverse confusion cases like this one, without explanation, and in misapplying the Frehling factors,

   particularly by assigning weight to evidence that the parties’ services stream content that

   consumers can readily distinguish, and other ways in which they are not identical, while at the

   same time disregarding evidence that the marks are strong, similar, used on similar,

   complementary services, there is customer overlap, Amazon’s stated intent to push Wreal out of

   the market, and evidence of actual consumer confusion.

          As explained below, the Court should decline to adopt Judge Goodman’s recommendation,

   and instead apply the proper standard by taking all reasonable inferences in Wreal’s favor,

   correctly apply the law, and deny Amazon’s motion for summary judgment.

     I.   Judge Goodman Failed to Apply the Summary Judgment Standard and Improperly Relied
          on Findings of Fact and Inferences Drawn from Those Facts at the Preliminary Injunction
          Phase.

          Judge Goodman misapplies the standard on summary judgment, principally by giving

   weight to the Court’s findings at the preliminary-injunction phase, opining “that evidence has not

   materially changed…..” ECF 378 at 4. But even with respect to undisputed facts that have not

   changed, the Court cannot rely on the inferences it made at the preliminary judgment phase when




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   it was undertaking a different role and applying a considerably different standard. Then, the Court

   had to make findings of fact, draw inferences, and determine whether Wreal had shown an

   overwhelming likelihood of success on the merits to warrant extraordinary relief.

          Here, the Court takes on a considerably different role, determining whether Wreal can

   prevail in front of a reasonable jury, not whether it is overwhelmingly likely to succeed. This

   means, now, the Court must consider all evidence and take all reasonable inferences in Wreal’s

   favor – part of the standard Judge Goodman did not mention and failed to apply. 1

          Judge Goodman and Amazon agree that the same undisputed facts the Court considered

   then, when it denied relief but noted Wreal could prevail, remain. Judge Goodman ignores, but the

   record shows, that those facts are only bolstered by additional evidence that points to a finding that

   confusion is likely. But Judge Goodman chose to ignore the summary judgment standard, and

   repeatedly credit findings at the preliminary injunction phase, ignoring that a reasonable jury could

   look at even the same evidence and draw a different inference.

           This is contrary to the law in this circuit. In Imaging Bus. Machines, the Eleventh Circuit

   reversed the district court’s grant of summary judgment because, like Judge Goodman repeatedly

   does here, the district court analyzed the evidence the same way it did at the preliminary injunction

   stage in that case. Imaging Bus. Machines, LLC. v. BancTec, Inc., 459 F.3d 1186, 1192 (11th Cir.

   2006). This was because at summary judgment “the district court was required to apply a

   substantially different standard in reviewing the evidence and resolving contested issues.” Id. 2



   1
     This Court provided all the guidance needed on the difference between the preliminary injunction
   standard and the one on summary judgment when it explained that its determination then that
   Wreal had not shown an overwhelming likelihood of success on the merits did not mean Wreal
   could not prevail. ECF 177.
   2
     This rule applies equally in trademark infringement cases. In Slip-N-Slide Records, Inc. v. TVT
   Records, LLC, 05-21113-CIV-TORRES, 2007 WL 473273, at *9 (S.D. Fla. Feb. 8, 2007), a case
   involving trademark infringement, the court applied the correct standard, holding that it must draw


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          Thus, “[i]n considering the motion for summary judgment … the district court had a duty

   to construe the evidence presented to it in the light most favorable...” to the non-moving party.

   Imaging Bus. Machines, LLC, 459 F.3d at 1192. The Eleventh Circuit explicitly noted that the

   district court’s opinion lacked any language suggesting it applied this standard, just like Judge

   Goodman left this standard out of his Report and Recommendation. And as explained below, Judge

   Goodman, like the lower court in Imaging Bus., improperly weighed and largely adopted

   Amazon’s evidence, discounted Wreal’s evidence, and relied on findings at the preliminary

   injunction phase instead of properly resolving inferences in favor of Wreal, the non-moving party.

    II.   Judge Goodman Misapplied the Frehling Factors, Disregarded Well-Reasoned Law on
          Reverse Confusion, Misconstrued Wreal’s Evidentiary Burden, Ignored Relevant
          Evidence, and Improperly Credited Irrelevant Evidence.

          Likelihood of confusion is a question of fact in the Eleventh Circuit. Like every issue, it

   may be resolved on summary judgment when, taking the record as a whole and all reasonable

   inferences in favor of the non-moving party, there is no genuine issue of material fact. See Imaging

   Bus. Machines, LLC, 459 F.3d at 1189; Slip-N-Slide Records, Inc., 2007 WL 473273, at *1.

          Judge Goodman acknowledges that in trademark infringement cases “a court must take

   into account the unique facts of each case….” ECF 378 at 25 (citing Custom Mfg. & Engineering,

   Inc. v. Midway Services, Inc., 508 F.3d 649 (11th Cir. 2007)). This means there may be cases

   where some factors exist that would point toward a finding that confusion is likely, but summary

   judgment may be granted in favor of the defendant when the other undisputed facts make confusion

   extremely or overwhelmingly unlikely.




   reasonable inferences in favor of the non-moving party at the summary judgment phase,
   notwithstanding the findings and conclusions made at the preliminary injunction phase.


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          This is consistent with the standard courts apply on summary judgment, and it simply does

   not follow that, as Judge Goodman suggests, courts may grant summary judgment to the defendant

   in cases where the facts do not show that confusion is unlikely. ECF 378 at 25 (rejecting the notion

   that summary judgment is only available to defendant when the facts of the case make confusion

   unlikely). Each of the Eleventh Circuit cases relied upon by Judge Goodman and Amazon

   presented unique, undisputed facts that made confusion obviously unlikely. ECF 261 at 3-5

   (discussing cases).

          In sum, there is no support for the notion that trademark infringement cases are analyzed

   any differently on summary judgment such that the Court, as Judge Goodman repeatedly

   recommends, may determine the weight or significance of evidence, or dispense with the

   requirement that reasonable inferences be taken in favor of the non-moving party.

          Thus, the Court analyzes the seven factors put forth in Frehling taking all reasonable

   inferences in Wreal’s favor: (1) strength of mark, (2) similarity of marks, (3) similarity of products,

   (4-5) similarity of customers, retail outlets, and advertising (collectively, the “proximity factors”),

   (6) the defendant’s intent, and (7) actual confusion. See Frehling Enters., Inc. v. Int’l Select Grp.,

   Inc., 192 F. 3d 1330, 1335 (11th Cir. 1999). The most important factors are strength of mark (which

   is truly undisputed here and favors Wreal), and actual confusion when, like here, it is present,

   though evidence of actual confusion is not required. See id. And unlike the Eleventh Circuit cases

   cited by Amazon and Judge Goodman, there is no undisputed fact that makes confusion so unlikely

   that summary judgment may be granted.

          Courts analyzing reverse confusion cases like this one have made slight modifications to

   the factors, assigning weight to the relative commercial strength of the junior user – Amazon’s –

   use of the mark, and recognizing that evidence of actual confusion is especially difficult to marshal




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   in reverse confusion cases. See A&H Sportswear, Inc. v. Victoria’s Secret Stores, Inc., 237 F. 3d

   198, 233 (3d Cir. 2000). Inexplicably, Judge Goodman recommends that the Court disregard these

   well-reasoned modifications without analyzing why they are relevant or suggesting a different

   standard.

          Judge Goodman also misapplies the standard that Wreal convince the jury that “an

   appreciable number” of consumers are likely to be confused as requiring evidence of some number

   of consumers who are actually confused as a result of the factors. See ECF 378 at 33-34 (requiring

   “actual evidence” that consumers consider the products related); 37 (requiring actual evidence of

   a consumer that believes Amazon may sell pornography).

          For the reasons explained below, the Court should decline to adopt Judge Goodman’s

   Report and Recommendations, and deny Amazon’s motion for summary judgment.

   A.     The Strength of Marks Factor Favors Wreal Because the Marks Are Conceptually Strong,
          and Because of Amazon’s Relative Commercial Strength.
          There are two facts relevant to this factor in reverse confusion cases – first, the conceptual

   strength of the mark, because in all trademark infringement cases, strong, distinct marks are more

   likely to be associated with the specific source of a product or service than weak ones, meaning

   confusion is more likely. See Frehling, 192 F. 3d at 1335. Courts have also held that the relative

   commercial strength of the junior user is relevant to this factor in reverse confusion cases. The

   parties do not dispute the conceptual strength of the mark or Amazon’s relative commercial

   strength, and thus this prong must favor Wreal. See A&H Sportswear, Inc., 237 F. 3d at 233; see

   Dreamwerks Production Group, Inc. v. SKG Studio, 142 F. 3d 1127, 1130 (9th Cir. 1998).

          Judge Goodman fails to address commercial strength at all, and dismisses the common-

   sense reasoning applied by other courts because they are non-binding, without analyzing why those

   courts found relevance in the relative commercial strength of the parties. Nor did he explain why



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   this Court should adopt a different standard. 3

          Judge Goodman also relies on Amazon’s use of its ubiquitous housemark alongside “Fire

   TV” in analyzing this factor. Although this analysis really goes to the similarity of the marks, to

   the extent it is relevant to this factor, it is because Amazon’s use of its housemark enhances the

   commercial strength of the mark as used by Amazon by creating an association between Amazon

   and Wreal’s mark.

          To that end, Judge Goodman misapplies the summary judgment standard in determining

   that Amazon’s use of its housemark lessens, not aggravates, the likelihood of confusion. This is

   despite the fact that he recognizes that some courts have determined that when one party uses its

   famous housemark and the other does not, as is the case here, this serves to aggravate the likelihood

   of confusion. ECF 378 at 27 (citing A&H Sportswear, Inc., 237 F. 3d at 233, Sands, Taylor &

   Wood Co. v. Quaker Oats Co., 978 F. 2d 947 (7th Cir. 1992)). Judge Goodman also acknowledges

   that other courts have found in cases where both parties use their respective housemarks, which is

   not the case here, that may serve to lessen the likelihood of confusion. See id.

          Without analysis, Judge Goodman simply disregards the differing situations where a

   housemark may aggravate or mitigate confusion because he finds instances where other courts

   have found a dominant junior party’s use of its housemark to be an aggravating factor simply “not

   persuasive.” ECF 378 at 28. But it is up to the jury to determine the significance of these facts. A

   reasonable jury may determine that Amazon’s use of its housemark next to Fire TV makes it more



   3
    Indeed, the reason commercial strength matters is in the very nature of reverse confusion, as it is
   the superior commercial strength of the junior users’ use of the mark that causes harm. This is why
   courts in reverse confusion cases look to this fact in determining whether this factor leads to the
   conclusion that confusion is likely. And there can be no dispute as to the extent of Amazon’s
   commercial strength compared to any company, let alone a smaller one like Wreal. Accordingly,
   based on the facts the law considers relevant and material to this factor, the only reasonable
   conclusion, and certainly one a jury could make, is that is favors Wreal.


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   likely that consumers will draw an association between Amazon and Wreal’s mark – resulting in

   reverse confusion. 4

           Judge Goodman fails to consider the possibility that a reasonable jury may come to the

   same conclusion as other courts have, without explaining why those courts were unreasonable.

   Instead, Judge Goodman recommends the Court simply disregard cases explaining why in

   circumstances like this one the junior users’ use of its ubiquitous housemark may aggravate

   confusion as not “on-point,” even though they address inferences that may be drawn from similar

   facts, and not “binding,” without presenting any authority, binding or otherwise, that this Court

   should adopt a different rule, just ipse dixit.

   B.      A Reasonable Jury Can Determine That the Similarities Between The Marks Makes
           Confusion Likely.
           The law is clear that in considering this factor, the court compares the marks and considers

   the overall impressions that the marks create, including the sound, appearance, and manner in

   which they are used.” Frehling, 192 F.3d at 1337 (citing John H. Harland Co. v. Clarke Checks,

   Inc., 711 F.2d 966, 975–76 (11th Cir. 1983)); Dreamwerks Prod. Group, Inc., 142 F.3d at 1131

   (reversing summary judgment where the marks were spelled differently and presented differently




   4
     Judge Goodman improperly relies on the Court’s assessment at the preliminary injunction phase
   that Quaker Oats and Attrezzi, two cases where courts found the junior users’ use of a housemark
   aggravated the likelihood of confusion, were distinguishable from this one because the marks in
   those cases were identical, not confusingly similar. See Sands, Taylor & Wood Co. v. Quaker Oats
   Co., 978 F. 2d 947 (7th Cir. 1992); see Attrezzi v. Maytag Corp., 436 F.3d 32 (1st Cir. 2006). But
   this Court’s finding at the preliminary injunction phase does not preclude a jury from making a
   different inference, the Quaker Oats and Attrezzi courts did not say the fact the marks in those
   cases were identical as opposed to very similar was the reason the junior users’ use of its
   housemark aggravates confusion, and other courts have made a similar finding with respect to
   confusingly similar marks. Certainly, it would be reasonable for the jury to determine that
   Amazon’s use of its famous housemark aggravates the likelihood of confusion, even if this Court
   did not determine at the preliminary injunction phase that it constituted an overwhelming
   likelihood of success on the merits.


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   in commerce because a reasonable jury could find confusion due to the “perfect similarity of

   sound,” similarity in meaning, and that a reasonable jury could find a perceptive consumer would

   shrug off the substituted vowel as an intentional modification identifying an ancillary division of

   the company). By crediting the portions of this analysis that show some differences, and ignoring

   the identical sound and meaning, Judge Goodman improperly weighed the evidence and failed to

   make the reasonable inference that, like in Dreamwerks, consumers could disregard the few

   differences and believe Amazon is the source of both.

           Even with respect to the prongs Judge Goodman chose to analyze, he acknowledged that

   the parties dispute the “significance of the similarities and differences.” ECF 378 at 29. Applying

   the proper standard on summary judgment, the Court must infer that the jury will determine that

   the similarities are sufficiently significant to cause confusion. In other words, Judge Goodman

   acknowledged that there is a genuine issue of material fact as to the significance of the similarities.

          But Judge Goodman failed to apply the proper standard, and ignored that it is for the jury

   to weigh the significance of the visual similarities. It is also for the jury to weigh the perfect

   similarity of sound, particularly when Wreal relies on word-of-mouth advertising, and that the

   marks share the same meaning in that they have no meaning at all – the manner in which both use

   the marks is simply to identify the service offered (reinforcing the undisputed fact that the marks

   are conceptually strong as used by both parties). And it is up the jury to determine whether

   consumers would shrug off the slight variation in spelling, font, and other differences as

   modifications differentiating ancillary divisions of the same company, like in Dreamwerks.

          Accordingly, Judge Goodman misapplied the standard and the law with respect to this

   factor by disregarding the perfect similarity of sound and meaning, facts made even more relevant

   when considering that Wreal relies on word-of-mouth advertising. And he erred by improperly




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   stepping into the shoes of the jury in crediting the differences in appearance while disregarding

   the similarities, misapplying the standard regarding overall appearance by requiring identity,

   something expressly not required, and which results in disregarding evidence of non-identical

   products that are complementary, the very type that often come from the same source.

   C.     A Reasonable Jury Can Determine That the Services are Related in the Minds of
          Consumers Because they are Both Streaming Video Services that Offer Different, But
          Complementary Content.
          Judge Goodman misapplied the law and misapplied the summary judgment standard in

   determining that this factor favors Amazon as a matter of law. The Eleventh Circuit explained that

   the analysis is whether the parties’ respective services are the kind the public attributes to a single

   source, not whether people can readily distinguish them. Frehling, 192 F.3d at 1338 (citing E.

   Remy Martin & Co., S.A. v. Shaw-Ross Int’l Imports, Inc., 756 F.2d 1525, 1530 (11th Cir. 1985))

   (emphasis added). Thus, the fact that anyone can readily distinguish the only significant difference

   between the services – the content offered by each – is insufficient to show confusion is unlikely.

   This is perfectly exemplified by E. Remy. Martin, where the Eleventh Circuit reversed a denial of

   a preliminary injunction because the lower court focused on the obvious dissimilarities of the

   contents found in the parties’ respective bottles – one wine, the other brandy – because this simply

   doesn’t matter when the proper analysis is whether they are of the type that could be put out by

   the same source. E. Remy Martin & Co., S.A., 756 F.2d at 1530.

          Courts have made the common sense determination that goods or services that are

   complementary are the types that consumers attribute to the same source. E. & J. Gallo Winery v.

   Gallo Cattle Co., 967 F.2d 1280, 1291 (9th Cir. 1992) (“Where goods are related or

   complementary, the danger of consumer confusion is heightened.”); Dreamwerks Prod. Group,

   Inc., 142 F.3d at 1131 (relatedness of goods extends to goods that are complementary).




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          Judge Goodman improperly disregarded evidence that the parties put out services that are

   similar in every material aspect – they are both streaming video services – one streams primarily

   mainstream content, the other streams adult content. Wreal put forth evidence that these are

   complementary products in the marketplace, and that complementary products are often put out

   by the same source. A reasonable jury certainly can infer that confusion is likely based on this fact,

   and at summary judgment the Court assumes the jury will make that inference. Judge Goodman

   acknowledges the fact that both parties provide services that stream video, only with different

   content. But he misapplies the law and substitutes his opinion for the jury by making the factual

   determination based on the lack of identical content that “the two products are not similar,”

   improperly discounting evidence that they are complementary and the obvious fact that

   complementary products are not identical. See ECF 316 at 19.

          Wreal argues that the complementary nature of the products makes confusion likely

   because consumers may assume that Amazon, a company that sells just about everything, puts out

   two complementary products, one to stream mainstream content, the other to stream adult content.

   This is certainly a reasonable inference the jury can make from this evidence, and one the Court

   must assume the jury will make at this stage. Brushing aside the standard, Judge Goodman appears

   to require evidence of actual consumer confusion in the form of survey evidence with respect to

   this factor – something no court has ever done – in asking where is Wreal’s evidence that an

   “appreciable number” of consumers would be confused. ECF 378 at 33-34.

          To answer Judge Goodman’s question, the evidence is in the similarity of the products,

   which do the same thing – stream video – albeit different types of videos. The evidence is in the

   complementary nature of the products. The evidence is testimony from Dr. Linda Williams, who

   this Court permitted to testify, that the content is complementary. ECF 130 at 24. The evidence




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   comes from Amazon’s expert, Dr. Peter Lehman, who said that major hotel chains offer both, and

   in evidence that large companies like Comcast stream both mainstream and pornographic content.

   This is evidence that the Court must assume at this stage a reasonable jury will weigh in favor of

   a finding that confusion is likely.

          The jury may also consider evidence that shows that pornography shows up in various

   ways in the marketplace and use facts about the marketplace to infer what consumers expect. See

   E. Remy Martin & Co., S.A., 756 F. 2d 1525 (relying on consumer expectations as evidence in

   upholding a finding that confusion is likely); Dreamwerks Production Group, Inc., 142 F. 3d 1127

   (same). The fact that the content is complementary, along with evidence that consumers expect

   complementary products to be put out from the same source, is more than enough for a reasonable

   jury to infer that it would be in line with consumers’ expectations for Amazon to put out

   pornography. The Court must assume at this stage that the jury will make that inference and that

   the jury will weigh it in favor of a finding that confusion is likely.

          Thus, Judge Goodman’s focus on the difference in the content, discounting evidence that

   points to a likelihood of confusion, misapplies the law and the summary judgment standard. The

   relevant question is whether consumers may think they come from the same source, not whether

   they can readily distinguish them, a standard the Judge Goodman cites but fails to apply.

          Finally, Judge Goodman improperly conflates this factor with the proximity factors. He

   does this by relying on the application of the unique facts in Sunenblick, a non-binding out of

   circuit case, to form an unsupported general rule that products kept separate in the marketplace are

   not similar. See Sunenblick v. Harrell, 895 F. Supp. 616 (S.D.N.Y. 1995). That simply is not the

   law, and Judge Goodman’s reliance on two leading Eleventh Circuit cases, Frehling and E. Remy

   Martin, is misplaced because he incorrectly said that the products in those cases were not kept




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   separate. ECF 378 at 38. A cursory reading of Frehling shows that two very different types of

   furniture sold by the parties were sold in different stores – separate from each other (yet the

   Eleventh Circuit reversed as clearly erroneous a finding of fact that this weighed in favor of a

   finding of no confusion). And in E. Remy Martin the products at issue were brandy, which is

   distilled, and wine, which is not. Those products must be sold in separate locations, at least under

   Florida law. See Florida Statute §565.04 (2018).

   D.     A Reasonable Jury Can Determine That There is Sufficient Overlap in the Parties
          Respective Sales Outlets, Customer Base, and Advertising to Find That Confusion is Likely.
          As explained in Frehling the key question with respect to each of these factors is overlap.

   See Frehling, 192 F.3d at 1339. At the heart of the inquiry is whether the same people will be

   exposed to both marks. This makes sense, because if one of Wreal’s customers never encountered

   Amazon’s use of the mark, confusion would be unlikely, as confusion only became likely when

   Amazon appropriated Wreal’s mark. And there is ample evidence that Judge Goodman merely

   disregarded showing that the same relevant consumers are likely to encounter both marks. Though

   Judge Goodman again brings it up, the fact that the parties’ content is readily distinguishable and

   people would not confuse one for the other is irrelevant and immaterial to these factors and the

   others, when the ultimate question is source confusion.

          With respect to similarity of advertising, Judge Goodman applied the standard explicitly

   rejected by the Eleventh Circuit in Frehling by only considering evidence that the parties do not

   advertise through identical mediums, not whether there is significant overlap of the viewers of the

   advertisements “such that confusion could result.” Frehling, 192 F.3d at 1339-40 (citing Safeway

   Stores, Inc. v. Safeway Discount Drugs, Inc., 675 F.2d 1160, 1166 (11th Cir.1982)). As Wreal

   explained, the evidence shows that both parties advertise using social media, email, search engines,

   and word-of-mouth. Judge Goodman simply discards this evidence, recommending without



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   support that the Court adopt a rule that these methods are “so broad as to make the advertising

   useless,” and stating without evidentiary support that “nearly every mark in commerce uses these

   channels.” ECF 261 at 19. Judge Goodman again misapplies the law in this Circuit that requires

   infringement cases to be decided on their unique facts, and improperly disregards evidence that

   there is bound to be significant overlap.

          Wreal put forth evidence of similarity in the parties’ sales methods, as they both sell

   streaming video over the internet. It is true that, outside of the internet (which Judge Goodman

   provides no reason the jury must ignore, given the importance of internet advertising, and the fact

   that it differs from traditional media in ways that make overlap more likely), there is not much

   presently in the way of direct overlap with respect to advertising. But the parties have advertised

   in similar mediums before, and Wreal’s approach to advertising is constantly evolving. Judge

   Goodman does not explain why Wreal must be locked to the way it advertised when Amazon

   suddenly appropriated its mark. And this is evidence a reasonable jury can infer makes confusion

   more likely, particularly in combination with the other factors.

          Wreal also put forth evidence that the parties share customers, and as explained in Frehling,

   the reason these factors are important is that they all go to whether the same people are likely to

   encounter the mark. Their respective target audiences are similar, and Frehling rejected the type

   of categorical distinctions amongst classes of consumers that Judge Goodman seems to apply. See

   Frehling, 192 F.3d at 1339. He may not have found “persuasive” the fact that people who watch

   pornography online also watch mainstream content, but a reasonable jury may infer this makes

   confusion likely because the same customers are likely to be exposed to both.

          Judge Goodman disregards this evidence because, for some reason, it must mean that

   “every customer base would be similar to another customer base.” Respectfully, this makes no




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   sense and Judge Goodman makes no effort to explain why that follows, or why it is a proper reason

   to disregard evidence of overlap in the factual record in this case. Indeed, earlier in his opinion,

   Judge Goodman correctly explained that the law in the Eleventh Circuit is that “a court must also

   take into account the unique facts of each case.” ECF 378 at 25 (citing Custom Mfg. & Engineering,

   Inc., 508 F.3d 649 (11th Cir. 2007)).

          Thus, the Court must consider that the infringer in this case is Amazon, one of the world’s

   most dominant retailers. This leads to the obvious inference that the parties share customers, and

   Wreal’s customers are likely to be exposed to Amazon’s infringing use of the mark. There’s

   nothing in the law that supports the notion that Amazon gets a pass on the proximity factors

   because its sheer size. This does not change the relevance of these factors, which is that confusing

   marks will cause more confusion when the same people are exposed to both. Amazon’s sheer size

   alone is evidence that a reasonable jury can use to find confusion is likely because Wreal probably

   shares most of its customers with Amazon. At the very least, there is significant evidence of

   overlap, and Wreal offered multiple examples of direct evidence of overlap that Judge Goodman

   simply ignored, such as an email to Wreal from one of its customers asking if Wreal’s service is

   available on Amazon’s Fire TV. See ECF 367 at 21.

          Judge Goodman misapplied the standard. The “key inquiry,” is overlap according to

   Frehling, not who Amazon targets, contrary to his improper reliance on findings at the preliminary

   injunction phase. Applying the correct standard, Wreal has put forth sufficient evidence that

   confusion is likely.

   E.     A Reasonable Jury Can Determine That Amazon Intended to Push Wreal Out of the
          Marketplace, or That Amazon Carelessly Chose Wreal’s Mark.
          Judge Goodman correctly determined that courts have applied different standards to the

   intent factor in reverse confusion cases. Some courts have required evidence of bad faith in



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   selecting the mark, such as “to confuse Wreal’s customers or to drive Wreal out of business.” ECF

   378 at 43. Others have applied a lesser carelessness standard. See Freedom Card Inc. v. JPMorgan

   Chase & Co., 432 F.3d 463, 479 (3d Cir. 2005).

          With respect to bad faith, a reasonable jury may infer that Amazon took steps to

   purposefully drive Wreal out of the market. In fact, Judge Goodman quotes from an Amazon

   executive who testified that Amazon purchased search terms from Google for the very purpose of

   making sure consumers would only encounter Amazon’s Fire TV, not Wreal’s Fyre TV. See ECF

   378 at 43-44. Again, stepping into the role of the jury, Judge Goodman simply assigns no weight

   to Amazon’s stated intent, and concludes instead that it was only trying to make confusion less

   likely by drowning Wreal out of the marketplace. Perhaps Judge Goodman is correct in the sense

   that if Amazon uses its market power to completely drown out Wreal and force Wreal out of

   business, Wreal would eventually be forgotten and confusion would disappear. Obviously, this

   turns the law on its head, the reverse confusion doctrine is intended to prevent a dominant junior

   user like Amazon from drowning Wreal out. Forcing a smaller company to be invisible to

   consumers and go out of business is not an acceptable way to eliminate the likelihood of

   confusion. 5

   F.     There is Evidence of Actual Reverse Confusion and a Reasonable Jury Can Infer that
          Evidence of Confusion by Some is Evidence of Confusion by Many.
          With respect to evidence of actual confusion, Judge Goodman misapplied the law and made

   decisions regarding evidence of actual confusion that must be left to the jury. See TracFone



   5
    As to the careless standard, the Judge Goodman ignores evidence that Amazon knew of the mark,
   and that it knew it was used for a similar service. Instead, he simply believes Amazon when they
   say they had the best intentions and didn’t think confusion is likely. And while Amazon’s stated
   intent is more than enough for the jury to determine this factor weighs in Wreal’s favor, it is also
   for the jury to determine whether Amazon was careless or whether it acted with the best intentions,
   as Judge Goodman opines.


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   Wireless, Inc. v. Cabrera, 883 F. Supp. 2d 1220, 1226 (S.D.Fla. 2012) (Lenard, J.). Though the

   law does not require it in order to find confusion likely, a reasonable jury may give significant

   weight to the evidence of actual confusion in this case. Judge Goodman improperly substituted his

   view for that of the jury in determining that Wreal put forth no evidence of actual consumer

   confusion. 6

          To that end, Judge Goodman disregarded a confused caller who contacted Amazon – not

   Wreal – to see if FyreTV could be accessed from Amazon’s Fire TV. Judge Goodman simply does

   not believe this caller could possibly have thought Amazon was the source of Wreal’s FyreTV.

   But Judge Goodman does not explain why this caller contacted Amazon, not Wreal, to inquire

   about Wreal’s service, and a reasonable jury can easily conclude that the only reason is because

   Amazon chose a confusingly similar name. Likewise, Judge Goodman substituted his judgment

   for that of the jury in determining that tweets from individuals who made the connection between

   Wreal’s FyreTV and Amazon are not additional evidence of actual consumer confusion. It is up to

   the jury to decide what weight to assign this evidence.

          Judge Goodman also erred in determining that, if the factual determinations he improperly

   made are incorrect, it is de minimis as a matter of law. He failed to consider testimony that while

   many people watch pornography, few talk about it, and failed to consider that confused consumers

   would contact Amazon, not Wreal, and that Amazon’s ability to search its records was limited.

   See Bageant Decl. Ex. 2. But a reasonable jury can infer from this evidence that this is a case where

   evidence of actual confusion is rare, yet significant, because few of those confused leave evidence




   6
    Judge Goodman, without explicitly saying so, treats the evidence Wreal put forth as if it were
   unreliable hearsay. It is not, and Amazon did not make that argument. Thus, it is admissible
   evidence, and it is up to the jury to decide what weight to assign it with respect to this factor, one
   of the most important.


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   that the parties can discover. In other words, it is a case where evidence of confusion by few is

   evidence of confusion by many. See Ryder Sys., Inc. v. Storage & Moving Svcs., Inc., No. 13–

   61466–CIV, 2013 WL 3873231 *6 (S.D. Fla. July 25, 2013).

          Thus, Judge Goodman improperly weighed evidence, failed to take reasonable inferences

   regarding evidence of actual confusion in the light most favorable to Wreal, and misapplied the

   law in determining that such evidence is de minimis.

   G.     A Reasonable Jury May Disregard Amazon’s Survey Evidence as Premature, or Assign it
          Little Wait Due to its Methodological Flaws.
          Finally, though the Judge Goodman does not rely on the Amazon’s flawed survey evidence,

   he nevertheless misapplies the law and improperly relies on a snippet of testimony from Wreal’s

   rebuttal expert, Dr. Thomas Maronick, to further support his flawed conclusion that no reasonable

   jury could find confusion likely.

          As this Court explained, the jury may assign no weight to Dr. Sarel’s premature Eveready

   survey. ECF 349 at 24-25. The limitations of the format so early on were well-explained by Dr.

   Maronick. The Eveready format could not have been used at all before Amazon launched its Fire

   TV, and it is up to the jury to determine whether Dr. Sarel’s survey conducted shortly after launch

   was too premature to reliably measure confusion. Dr. Maronick determined that Dr. Sarel’s survey

   is unreliable and will explain that to the jury should it be necessary. 7

          Indeed, Dr. Maronick had already alluded to the fact that reverse confusion cannot be

   measured with an Eveready survey while unaided consumer awareness remains low at the

   preliminary injunction hearing, after he was asked about preliminary pilot studies he ran, and



   7
    It may not be necessary if Dr. Sarel, who testified he did not consider data on consumer awareness
   of Amazon’s Fire TV despite it presumably being available to him, concedes that an Eveready
   survey run so shortly after launch is not reliable to measure confusion in the marketplace now that
   Amazon’s products are so ubiquitous.


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   testified exactly why few expressed confusion in those early, non-scientific studies – awareness

   was too low. See Bageant Decl. at Ex. 2. Judge Goodman and Amazon make much of this

   unremarkable testimony, but it is entirely consistent with his rebuttal expert opinion.

           And it simply does not follow that low unaided awareness of Amazon’s Fire TV shortly

   after launch necessarily means there can be no reverse confusion. Judge Goodman provides no

   authority or logical explanation for this conclusion. Reverse confusion occurs when a larger junior

   user saturates the market to the point that the smaller, senior user loses its brand identity, etc. The

   law does not require immediate consumer awareness for there to be reverse confusion, and it defies

   common sense. Indeed, Dr. Maronick testified that Dr. Sarel’s survey was premature at the time it

   was run “because the top-of-the-mind awareness of Amazon’s Fire TV [was] not yet stable, and is

   in fact growing. This does not mean that there is no likelihood of confusion.” ECF 263 at ¶50

   (citing Maronick Report ¶ 67)(emphasis added). Certainly, there are cases where a larger, senior

   user fails to gain the attention of the market – but there’s no evidence that is the case here. See e.g.,

   Fancaster, Inc. v. Comcast Corp., 832 F. Supp. 2d 380 (D.N.J. 2011). The evidence is to the

   contrary – Amazon’s Fire TV line has expanded considerably, there are now many variations, and

   its new Fire TV Cube provides full access to Amazon’s immensely popular Alexa voice assistant.

           To the extent Amazon asks the Court to consider the results of those studies – which are

   not even before the Court on this motion – as evidence that confusion is unlikely, there is no basis

   for that. Moreover, Amazon and Judge Goodman incorrectly stated the holding in LG. See LG

   Electronics USA, Inc. v. Whirlpool Corp., No. 1:08-cv-00242 (Sept. 13, 2010). In that case, while

   the district court judge noted that neither party disclosed the expert at issue as part of its case-in-

   chief, that was not the reason for her ruling. See id. The reason was that LG – the party proffering

   the expert – simply could not do so under Rule 26(b) because the expert had not complied with its




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   requirements, such as an expert report. Moreover, the expert had not completed her analysis, which

   would likely make the expert testimony inadmissible in any event.

          Like in LG, Amazon has not put forth an expert report from Dr. Maronick. It cannot rely

   on raw answers from Dr. Maronick’s incomplete, non-scientific, pilot studies as expert testimony

   that confusion is unlikely. It cannot comply with Rule 26(b) and certainly cannot comply with

   Daubert. Should Wreal call Dr. Maronick as a rebuttal witness to Dr. Sarel, Amazon may be able

   to ask him questions that fall within the scope of his opinion that Dr. Sarel’s survey was premature.

   And Dr. Maronick’s testimony at the preliminary injunction hearing is perfectly consistent with

   his opinion that Dr. Sarel’s surey was premature and unreliable, an opinion only bolstered after

   Dr. Maronick learned unaided awareness of Amazon’s Fire TV was still relatively low, but

   increasing, when Dr. Sarel conducted his survey a few short months after launch.

   H.     Applying the Proper Standard to the Facts of This Case, a Reasonable Jury May Determine
          That Amazon’s Use of Wreal’s Mark is Likely to Cause Reverse Confusion.
          As explained above, there is sufficient evidence for a reasonable jury to infer that each of

   the Frehling factors points to a finding that conclusion is likely. Starting with the two most

   important factors, there is no dispute regarding the conceptual strength of the mark or Amazon’s

   commercial strength. And Wreal put forth evidence of actual confusion, particularly the confused

   caller, a potential customer of Wreal’s FyreTV who contacted Amazon for no other conceivable

   reason other than the confusing similarity of the marks.

          With respect to the similarity of the marks, Judge Goodman misapplied the law and the

   summary judgment standard by performing a partial analysis and weighing only certain visual

   differences, ignoring perfect similarity of sound and meaning, and rejecting the notion that the jury

   may determine it is likely that consumers will disregard the visual differences and assume they

   exist to identify an ancillary division of the same company.



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          Likewise, Judge Goodman erred in assessing the similarity of products, disregarding

   evidence that they are both streaming video services that provide different, but complementary

   content, the type the public often determines comes from the same source. Instead, Judge Goodman

   focused heavily on the irrelevant fact the content is readily distinguishable, and misapplied the law

   by requiring evidence of actual consumer confusion, and conflating this standard with the

   proximity factors, incorrectly stating that the products in the two leading cases in this circuit,

   Frehling and E. Remy Martin, were not kept separate, when in fact they were.

          Judge Goodman also misapplied the proximity factors, which focus on whether there is

   overlap, or whether the same people will see both marks, and improperly dismissed evidence that

   relevant consumers will be exposed to both. Instead, Judge Goodman proposes without authority

   that a company of unprecedented size like Amazon should somehow get a pass on these factors,

   but this is unsupported by the law or common sense, particularly in a reverse confusion case, where

   the harm is that Amazon’s use of the mark will drown out Wreal.

          With respect to intent, Judge Goodman improperly made his own determination that

   Amazon’s stated intent to push Wreal out of the market did not constitute bad faith, and simply

   took Amazon for its word that it acted with good intentions. This is for the jury to decide.

          Finally, without relying on them, Judge Goodman improperly analyzed the survey evidence

   in this case, and illogically concluded that the absence of immediate consumer awareness of

   Amazon’s Fire TV shortly after launch must somehow mean that there can never be a likelihood

   of confusion.

          Applying the correct summary judgment standard and properly applying the law, there is

   sufficient evidence for the jury to determine that each factor favors Wreal, that an appreciable

   number of consumers are likely to be confused, and thus summary judgment should be denied.




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                                      CERTIFICATE OF SERVICE

           I certify that on May 9, 2019, this document was served by the Court’s ECF filing system
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